Case_2:13-CV-09399-I\/|I\/|I\/|-P.]W Document 1 Filed 12/20/13 Page 1 of 17 Page |D #:16

 

   
   

 

 

 

hew 1 Jeanne L. Zimmer (SBN 123321) § §§st j
:,£§\""§`§'“` 2 Zimmerj@cmtlaw.com § j§ §§ §§ §§ §>§§§§wsm' ml§€f
§ Tamar Gabriel (SBN 266860) § 1 jt § § 1 §
3 Gabrielt@cmtlaw.com § 1 “/: §§ §§ § 1
§§ jj 4 CARLSC)N & MESSER LLP § j 1 j

H:"§~i§ 5959 W. Century Boulevard, Suite 1214
§': §§ 5 LOS Angeles, Califomia 90045
‘§§§ 6 (310) 242-2200 Teleph<>ne
(310) 242-2222 Facsimile
7
8 Attomeys for Defendant,
9 FINANCIAL CREDIT NETWORK, INC.
10
11 UNITED STATES DISTRICT COURT
12 CENTRAL DISTRICT OF CALIFORNIA
13 CATHERINE NAZARIAN, CaS@ NO
14 _ _f )EV§H§“ “Q§§QVW/V\… PSV\/)<
15 Plam“ f’ ) N0TICE OF REMOVAL
16 VS. §
17 FINANCIAL CREDIT NETWORK, )
18 INC. )
)
19 Defendant. )
20
21 Defendant, FINANCIAL CREDIT NETWORK, INC. hereby files this notice
22
23 01` removal under 28 U.S.C. §1446(21).
24 A. INTR()DUCTION
25 1. D@fendam is FINANCIAL CREDIT NETWORK, INC.
26
27 (“Defendant”); Plaintiff is CATHERINE NAZARIAN (“Plaintiff”).
28 / / /
{000\245);)} _ ] - NOTICE OF REMOVAL
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Case ?:13-cV-09399-I\/|I\/|I\/|-P.]W Document 1 Filed 12/20/13 Page 2 of 17 Page |D #:17

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2. Upon information and belief, Plaintiff initially filed this case on
November 15, 2013, in the Superior Court of California, County of Los Angeles, '
Case No. BC527982. A true and correct copy of Plaintiff` s original Complaint is
attached hereto as Exhibit “A”.

3. On November 20, 2013, Defendant Was personally served With the
Summons and a copy of the Plaintiff s Cornplaint.

4. As Defendant received PlaintifP s Complaint on November 20, 2013,
Defendant files this notice of removal Within the 30-day time period required by
28 U.S.C. §1446(b), and as extended via FRCP 6. See Wells v. Gateways Hosp. &
Mental Health Ctr., 1996 U.S. App. LEXIS 2287 at *2 (9th Cir. Cal. Jan. 30,
1966).

B. BASIS FOR REMOVAL

5. Removal is proper because Plaintiff’ s Complaint involves a federal
question. 28 U.S.C. §§1331, 1441(b); Long v. Bando Mfg. ofAm., Inc., 201 F.3d
754, 757-58 (6th Cir. 2000); Peters v. Union Pac. R.R., 80 F.3d 257, 260 (8th Cir.
1996). Specifically, Plaintiff has alleged claims that arise under 15 U.S.C. §1692,
et seq. and 47 U.S.C. § 227(b)(1)(A)(iii) for alleged violations of the Fair Debt
Collection Practices Act and the Telephone Consumer Protection Act. lt is
therefore an action of Which this Court has original jurisdiction under 28 U.S.C.

§1331, and may be removed to this Court by Defendant pursuant to the provisions

 

 

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Case 2:13-cV-09399-I\/|I\/|I\/|-P.]W Document 1 Filed 12/20/13 Page 3 of 17 Page |D #:18

of 28 U.S.C. §1441(a). This Court also has supplemental jurisdiction over
Plaintiffs state claims pursuant to 28 U.S.C. §1367.

6. Venue is proper in this district under 28 U.S.C. §l441(a) because this
district and division embrace the place Where the removed action has been
pending

7. Defendant Will promptly file a copy of this notice of removal With the
clerk of the state court Where the action has been pending.

C. JURY DEMAND

8. Plaintiff demands a jury in the state court action. Defendant also
demands a jury trial.

D. CONCLUSI()N

9. Defendant respectfully requests removal of this action as it involves a
federal question under the Fair Debt Collection Practices Act, 15 U.S.C. §1692 and

the Rosenthal Fair Debt Collection Practices Act, 1788, et seq.

DATED: December 20, 2013 CARLSON & MESSER LLP

By %/QW?¢ IA?MM

J::ine/ le mer
T ar Ga iel
Attorney f r Defendant,

FINANCIAL CREDIT
NETWORK, INC.

 

 

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Case 2:13-cV-09399-I\/|I\/|I\/|-P.]W Document 1 Filed 12/20/13 Page 4 of 17 Page |D #:19

EXHIBIT “A”

‘ Case 2:13-cV-09399-l\/|l\/|l\/|-P.]W Document 1 Filed 12/20/13

Page 5 of 17 Page |D #:20

 

PLD-Pl-001
Arroauev 05 PARTY vvirHouT ArroRNEY (Name, state ear number ana address); FoR comer use o~Lv
"'_ Catherme Nazarian
1337 Casiano Road
Los Angeles, CA 90049
; _ . ' z ED COPY
TELEPHoNe No (31()) 466 3_3 39 FAx No (opr/ona/) CO(I;J§I(();§&IL FILED
EMAIL AooREss (opz/ona/): Ca'£hy.nazal`lan@yahoo.€t)m sup.rur conn orculromu

ATroRNEY FoR (Name); 111 PI‘O Pel‘

 

suPERioR couRr oF cALlFoRNiA, couNrY oF LOS ANGELES
sTREETADDnEss; 111 N. Hi.ll Sl!`€€i

MAIuNG ADDRESS: 111 N. Hill Street
ciTvAND ziP cone LOS Ang€l€$, CA 90012

BRANCH NAME: Stanley Mosk Courthouse

 

PLAiNnFF: Catherine Nazarian
DEFENDANT: Financial Credit Network, Inc.

i: :l ooEsiTo>

 

COMPLAlNT-Personal lnjury, Property Damage, Wrongful Death
|::l AMENDED (Number):

Type (check all that apply):

l;:] MOTOR VEH|CLE l::] OTHER (specify):

[:::] Property Damage l ’Wrongful Death
Personal injury l Other Damages (specify):

 

County 01‘ Loc A.ngoiel

NOV l 5 20i3

Snerri R. Carter, Executive Oificer/Cierk
By: Kristina Vargas, Deputy

 

Jurisdiction (check all that apply):
l::] ACTION lS A LlMlTED ClVlL CASE
Amount demanded I:l does not exceed $10,000

[::] exceeds $10,000, but does not exceed $25,000
AchoN is AN uNLiMiTED civii_ cAsE (exceeds $25,000)
l::l ACTION iS RECLASS|FIED by this amended complaint
i::l from limited to unlimited
l:: from unlimited to limited

CASE NUMBER:

BC527982

 

 

 

1. Plaintiff (name or names): Catherine Nazarian
alleges causes of action against defendant (name or names):
Financial Credit Network, lnc.

 

2. This pleading, including attachments and exhibits, consists of the following number of pages:

3. Each plaintiff named above is a competent adult
a. l:l except plaintiff (name):
(1) l::] a corporation qualified to do business in California
(2) ::l an unincorporated entity (descn'be):
(3) [::] a public entity (descn'be):
(4) l::] a minor ij an adult

(a) l:l for whom a guardian or conservator of the estate or a guardian ad litem has been appointed

(b) I:l other (specify):
(5) [:l other (speoify):
b. l:l except plaintiff (name):
(1) [:::l a corporation qualified to do business in Ca|itornia
(2) [::| an unincorporated entity (describe).‘
(3) [::l a public entity (descn`be):
(4) :] a minor [::] an adult

(a) i:l for whom a guardian or conservator of the estate or a guardian ad litem has been appointed

(b) l:l other (specify).'
(5) l::] other (specify).~

i:.:l information about additional plaintiffs who are not competent adults is shown in Attachment 3.

 

Page 1 er 3
F edfoO ` alU ___ ' CodeofC‘ 'lPocedure,§425.12
jumd§pp'°dal C;m[fm §’a“l?t;‘m;@ COMPLA|NT Personal lnjury, Property "‘wv;w_mumm_ca_gov

PLDPi~ooi rnev. January 1, 2007]

Damage, Wrongful Death

 

Case 2:13-cV-09399-l\/|l\/|l\/|-P.]W Document 1 Filed 12/20/13 Page 6 of 17 Page |D #:21

 

 

 

 

 

PLD-P|-001
SHORT TlTl.E: cAsE NuMBER:
NAZARIAN VS. FINANICAL CREDIT NETWORK, INC.
4. l::] Plaintiff (name):
is doing business under the fictitious name (specify):
and has complied with the fictitious business name laws.
5. Each defendant named above is a natural person
a. [:] except defendant (name).' c. l:l except defendant (name):
(1) l::l a business organization, form unknown (1) |:] a business organization, form unknown
(2) a corporation (2) [:l a corporation
(3) l::] an unincorporated entity (descrit)e).' (3) [:l an unincorporated entity (describe):
(4) l:l a public entity (desclfbe).' (4) [::l a public entity (descn`be):
(5) [::] other (specify): (5) l::l other (specify):
b. l::] except defendant (name): d. l:::l except defendant {name):
(1) l:j a business organization, form unknown (1) I:::] a business organization, form unknown
(2) l::l a corporation (2) [:l a corporation
(3) [::] an unincorporated entity (descn`be): (3) [:] an unincorporated entity (descn'be):
(4) [:] a public entity (describe): (4) i:i a public entity (deseiibe).~
(5) {::l other (specify): (5) |::] other (specify):

|::] information about additional defendants who are not natural persons is contained in Attachment 5.

6. The true names of defendants sued as Does are unknown to plaintiff
a. l::| Doe defendants (specify Doe numbers): were the agents or employees of other
named defendants and acted within the scope of that agency or employment
b. [_ j Doe defendants (specify Doe numbers): are persons whose capacities are unknown to
plaintiff
7. § Defendants who are joined under Code of Civil Procedure section 382 are (names):

8. This court is the proper court because

a. l::l at least one defendant now resides in its jurisdictional area
. l___:] the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
injury to person or damage to personal property occurred in its jurisdictional area

[_`_j other (specify):

env

9. [:l Plaintiff is required to comply with a claims statute, and
a. [::l has complied with applicable claims statutes, or
b. l:] is excused from complying because (specify):

 

PLD~°'W iRe"- Janua'y i- 2°°71 COMPLA|NT-Fersonal lnjury, Property Paae 2 of 3
Damage, Wrongfu| Death

 

 

Case 2:13-cV-09399-l\/|l\/|l\/|-P.]W Document 1 Filed 12/20/13 Page 7 of 17 Page |D #:22
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SHORT TlTLE: cAsE NUMBER;
NAZARIAN vs. FINANICAL CREDIT NETWORK, INC.

 

 

 

iO. The following causes of action are attached and the statements above apply to each (each complaint must have one or more
causes of action attached): =

[:] Nlotor Vehicle

[::] General Negligence

intentional Tort

[:] Products Liability

l::] Premises Liabiiity

Other (specify):

Exemplary Damages.

miranda

 

 

 

 

11, Plaintitf has suffered

wage loss

[::] loss of use of property

l::l hospital and medical expenses
general damage

[:l property damage

loss of earning capacity

other damage (specify):

b. Emotional distress
i. Damage to financial reputation, i.e. credit worthiness.
j. Defamation of character.

<.e-“"si>en.¢rsv

12. l:l The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
e, § listed in Atiaehmeni 12_
b. [:\ as follows:

13. The relief sought in this complaint is within the jurisdiction of this court.

14_ P|aintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable; and for

a. (1) compensatory damages
(2) punitive damages
The amount of damages ls (in cases for personal injury or wrongful death, you must check (1)).'

(1) according to proof
(2) [::l in the amount of: $

15. [:i The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers).'

Date: li\fj} 203

Catherine Nazarian , wm y\‘MM/`»i

rrYPE on PRiN'r nAME) (siGNATuRE oF PdiiiriFF oR ATTORNEY)

 

 

Pwi=woi iRev. Jenuary 1.20071 COMPLAINT-Personal lnjury, Property P°Q° 3 °f 3
Damage, Wrongful Death

Case 2:13-cv-09399-l\/ll\/ll\/l-P.]W Document 1 Filed 12/20/13 Page 8 of 17 Page lD #:23
PLD-Pi-001(3)

 

SHORT TlTLE: CASE NUMBER
NAZARIAN Vs. FINANCIAL CREDIT NETWORK, INC.

 

 

 

 

FiRsr cAusE oF AcTioN--intentionai ron Page Cl

(number)
A'iTACHMENT TO Compiaint i::] Cross - Complaint

(Use a separate cause of action form for each cause of action )
iT-1. Piaintiff (narne): CATHERINE NAZARIAN
alleges that defendant (name): FINANCIAL CREDIT NETWORK, lNC.

Does to

was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant intentionally
caused the damage to plaintiff

on (date)Novernber ll, 2013
at (p/ace)Los Angeles, California

(description of reasons for liability):

Defendant intentionally, knowingly and in violation of numerous State and federal statutes,

failed to report accurate information to at least three major credit reporting bureaus (Experian,
TransUnion and Equit`ax); failed to flag such information as "disputed" in said major credit reporting
bureaus once disputed by Plaintiff pending investigation; failed to properly investigate Plaintift‘s
dispute as required by law; failed to properly validate Pla.intit`t‘s alleged debt by providing proof of
the underlying debt, that debt belonged to Plaintiff and that debt was purchased by Defendant, and;
re-reported said inaccurate information regarding alleged debt to said credit reporting bureaus.

_As-~a~ collectionwa"gwe~rit:lj~e`i`eiidaiit"either-\knpws, or should know, all pertinent federal laws under the
<_:`_Fair Debt Collection Practices Act (15 U;SE. Section 1692, et seq.) and California’s parallel
\;Rw§sjenthal“l:air~l§ebt Collee-ti-on"~Practice”§` Act (Cal. Civ. Code Sectionsl788-l 788.3), which permits
Plaintii§f"to recover actual and punitive damages thereunder in cases of grossly negligent or Willful

violations as those alleged (Cal. Civ. Code Section l786.50(b)).

 

Page 1 of 1
Form Approved for Optionai Use _ ‘ Code of C' `l med e, 425.12
Jud,cia, Cound, omamomia CAUSE OF ACTiON intentional Tort ""www_ml‘fm.n,§w_gov

PLD~P|-OOl(S) [Rev. Jar‘luary 1, 2007]

Case 2:13-cv-09399-l\/ll\/ll\/l-P.]W Document 1 Filed 12/20/13 Page 9 of 17 Page lD #:24
PLD-Pi-001(6)

 

SHORT TiTLEZ cAsE NuMaER;
NAZARIAN VS. FINANCIAL CREDIT NETWORK, INC.

Exempiary Damages Attachment Pag¢ 5
ATTACHMENT TO Complaint l::] Cross- Complaint 1

 

 

 

 

EX-t. As additional damages against defendant (name).'
FINANCIAL CREDIT NETWORK, lNC.

Piaintiff alleges defendant was guilty of

malice

fraud

oppression

as defined in Civii Code section 3294, and plaintiff should recover, in addition to actual damages damages
to make an example of and to punish defendant

EX-Z. The facts supporting plaintist claim are as follows:

Defendant intentionally, knowingly and in violation of numerous State and federal statutes,

failed to report accurate information to at least three maj or credit reporting bureaus (Expen`an,
TransUnion and Equifax); failed to flag such information as "disputed" in said major credit
reporting bureaus once disputed by Plaintiff pending investigation; failed to properly investigate
Plaintiff‘s dispute as required by law; failed to properly validate Plaintiff‘s alleged debt by
providing proof of the underlying debt, that debt belonged to Plaintiff and that debt was purchased
by Defendant, and; re-reported said inaccurate information regarding alleged debt to said credit
reporting bureaus.

/Asa»eol'lecti`on““a"gent;~-'Defendgnt either knows, or should know, all pertinent federal laws under the
.`\§ air Debt Collection Practices A\ct\{l 5 U.S.C. Section l692, et seq.) and California's parallel
"~--R~Y)`smeii`th“al"l*‘air”l?ebt€o‘llecti`o' ractices Act (Cal. Civ. Code Sectionsl788-l788.3), which
permits Plaintiff to recover actual and punitive damages thereunder in cases of grossly negligent or

willful violations as those alleged (Cal. Civ. Code Section 1786.50(b)).

Defendant is guilty of malice under Civil Code section 3294 because it has exhibited a conscious
disregard of the aforementioned State and federal collection laws with the actual intention of
damaging Plaintiff in the manner alleged in the instant Complaint in order that it be paid money.
Further Defendant's conduct constitutes fraud because Defendant makes intentional
misrepresentations to said credit reporting bureaus and conceals facts otherwise know to
Defendant Moreover, Defendant‘s conduct constitutes despicable conduct that has subjected
Plaintiff to cruel and unjust hardship in conscious disregard Plaintifi‘s rights.

EX-3_ The amount of exemplary damages sought is
a. not shown, pursuant to Code of Civii Proeedure section 425.10.

 

b. i::l $
Page 1 ct 1
FOl’m Ap FDVedfC 0 llof\al USS COdeOfC' ’lPl'OOSd , 425.12
Judida’lCouncilhfgalKomia EXemplal'y Damage$ Attachment mw»w.oo:;nf§;.ca.gov

PLD-Pl-GO1(6) [Rev. Janua'y 1, 2007]

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2:13-cV-09399-l\/|l\/|l\/|-P.]W Document 1 Filed 12/20/13 Page 10 of 17 Page |D #:25

PROOF OF SERVICE

STATE OF CALIFORNIA
SS

\./\./\./

COUNTY OF LOS ANGELES

1 am employed in the County of Los Angeles, State of California.

1 am over the age of eighteen years and not a party to the within action. My business
address is 5959 W. Century Blvd., Suite 1214, Los Angeles, California 90045.

On December 20, 2013, 1 served the foregoing document(s) described as: NOTICE OF
REMOVAL on all interested parties in this action as follows:

SEE ATTACHED SERVICE LIST

[X] BY MAIL: 1 sealed such envelope(s) and placed it (them) for collection and mailing
on this date following the ordinary business practices of Carlson & Messer LLP. 1 am
readily familiar with the business practices of Carlson & Messer LLP for collection and
processing of correspondence for mailing with the United States Postal Service. Such
correspondence would be deposited with the United States Postal Service at LOS
Angeles, California this same day in the ordinary course of business with postage
thereon fully prepaid.

[ ] BY ELECTRONIC MAIL: Based On Court order or an agreement of the parties to
accept service by e-mail or electronic transmission, 1 caused the said documents to be
sent to the persons at the electronic mail addresses listed below (see attached service
list). 1 did not receive within a reasonable time after the transmission, any electronic
message or other indication that the transmission was unsuccessful

[ ] BY FACSIMILE ~ 1 transmitted via telecopier machine such document to the
interested parties at the facsimile number(s) listed on the attached service list.

[ ] (STATE): 1 declare under penalty of perjury under the laws of the State of California
that the above is true and correct.

[X] (FEDERAL): 1 declare that 1 am employed in the office of a member of the bar of this
court at whose direction the service was made.

Executed this 20th day of December, 2013, at Los Angeles, California.

MA/WMNa/f//

%éATHRYN A. BROWN

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2:13-cV-09399-l\/|l\/|l\/|-P.]W Document 1 Filed 12/20/13 Page 11 of 17 Page |D #:26

SERVICE LIST
Nazarian, Catherine v. Financial Credit Network, lnc.
File No. 07708.00

Catherine Nazarian Plaintiff Pro Se
1337 Casiano Road

Los Angeles, CA 90049

Tel: (310) 466-3339

Email: cathy.nazarian@yahoo.com

{00012458;1)
07708.00 2

 

Case 2:13-cV-09399-l\/|l\/|l\/|-P.]W Document 1 Filed 12/20/13 Page 12 of 17 Page |D #:27

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES ]UDGES

This case has been assigned to District ]udge Margaret M. Morrow and the assigned
Magistrate ]udge is Patrick ]. Walsh

 

The case number on all documents filed With the Court should read as follows:

2:13-cv-09399 MMM-P]WX

 

Pursuant to General Order 05-07 of the United States District Court for the Central District of
California, the Magistrate ]udge has been designated to hear discovery related motions.

All discovery related motions should be noticed on the calendar of the Magistrate ]udge.

Clerk, U. S. District Court

 

 

 

December 20, 2013 By sBOURGEOIS
Date Deputy Clerk
NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants ( if a removal action is
filed, a copy of this notice must be served on all plainti]fs).

Subsequent documents must be filed at the following location:

[| Western Division |:] Southern Division |:] Eastern Division
312 N, Spring Street, G-8 411 West Fourth St., Ste 1053 3470 Twelfth Street, Room 134
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (08/13) NOTICE OF ASSIGNMENT TO UNITED STATES IUDGES

Case 2:13-cV-09399-l\/|l\/|l\/|-PJW Document 1 Filed 12/20/13 Page 13 of 17 Page |D #:28

UN|TED STATES DlSTR|CT COURT, CENTRAL DISTR|CT OF CALlFORN|A

 

ClVlL COVER SHEET
|. (a) PLA|NTlFFS ( Check box if you are representing yourself :] ) DEFENDANTS (Check box if you are representing yourself m )
Catherine Nazarian, Pro Se Fianancia| Credit l\letwork, inc

 

 

 

 

 

 

 

 

§§ (b) Cou nty of Residence of First l_lsted P|aintiff Los Angeles, CA County of Residence of First Listed Defendant Tulare County, CA
v ‘»`L‘~‘ (EXCEPTIN UiS. PLAINT/FF CASES) (IN U.S. PLAINT/FF CASE$ ONLY)
x (C) Attorneys (Firrn Ncime, Address and Te/ephone Number) lf you are Atto m ey$ (Fi’rm Nome, Address and Te/ephone Number) lt you are
representing yourself, provide the same information representing yourself, provide the same information
Catherine Nazarian, Pro Se jeanne L. Zimmer (SBN 123321) - Tamar Gabrie| (SBN 266860)
1337 Casiano Road CARLSON 81 MESSER LLP
l_os Angeles, CA 90049 5959 W. Century Boulevard, Suite 1214
Phone: (310) 466-3339 Los Angeles, CA 90045 Phone: (310) 242~22-~)
ll. BAS|S OF JUR|SDlCTlGN (Place an X in one box only_) lll. ClTlZENSH|P OF PRlNC|PAL PART|ES~For Diversity Cases Only
(Place an X in one box for plaintiffand one for defendant)
1 PTF DEF . . PTF DEF
1. U.S. Government 3. Fecleral Question (U.S. Citizen 011-his State |:1 1 1:1 1 \"\COFPOrat€Fi 01 _le€'pal P|a€e [:] 4 4
P|aintiff Govemment l\lot a Party) °f B'*’$'"ess m th'$ State
Citizen of Another State 1:1 2 [:1 2 incorporated and Principa| P|ace l:] 5 g 5
U S d C l h of Business in Another State
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v.REQuEsTEoiN coiviPi_AiNT:iuRv DEMAND: -Yes 1:| No (Check "Yes" only itdemanded in complaint-l

CLASS ACT|ON under F.R.CV.P. 23:_ [:]Ye$ NO [:J MONEY DEMANDED lN CONlPLAlNT: $ 25,000
Vl. CAUSE OF ACT|ON (Cite the U.S. Civil Statute under which you are Hling and write a briefstatement ofcause. Do not citejurisdictiona| statutes unless diversity.)
Rosenthal Fair Debt Col|ection Practices Act (Ca| Civ Code Section 1788, et Seq); Fair Debt Collection Practlces Act (15 U.S~C. Sections 1692, et seq)

 

 

Vll. NATURE OF SU|T (P|ace an X in one box only).

    

    

  

 
     
  
 
  
  
    
      

       
 
 

   
 

 

 
 
     

 
   
   

  

  
        

 

 
        

    
   

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850 securities/Com- 153R over Of l:l 340 Mar§"e 422Appe3123 ' \:l Defendant)
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page 1 of3

Case 2:13-cv-09399-l\/|l\/|l\/|-P.]W Document 1 Filed 12/20/13 Page 14 of 17 Page |D #:29

UN|TED STATES DlSTR|CT COURT, CENTRAL DlSTR|CT OF CALlFORN|A
ClVlL COVER SHEET

Vlll. VENUE: Your answers to the questions below will determine the division of the Court to which this case will most likely be initially assigned. This initial assignment
is subject to change, in accordance with the Court's Genera| Orders, upon review by the Court of your Comp|aint or Notice of Removal.

 

Question A: Was this case removed from
state court?

 

Yes |:] No LosAngeles W€Sl€m
Western

 

lf"no, " go to Question B. lf"yes," check the {:j Ventura, Santa Barbara, or San Luis Obispo
box to the right that applies, enter the
corresponding division in response to m Orange S°uthem
Question D, below, and skip to Section lX.

 

 

Eastern

 

1:] Riverside or San Bernardino

 

 

 

 

Question B: ls the United States, or one of `
its agencies or employees, a party to this
action?

|:] Yes No

    

 

 

 

 

|f "no, " go to Question C. |f "yes," check the l:l LOS Angele$ [:] LOS Angele$ Western
box to the r_'ght lth applies' enter the Ventura, Santa Barbara, or San Luis Ventura, Santa Barbara, or San l_uis
corresponding division in response to l:l Obispo l:l Obi$po Westem
Question D, below, and skip to Section lX.
[:] Orange |:] Orange Southern
|:] Riverside or San Bernardino [:] Riverside or San Bernardino Eastern
|:] Other |:] Other Western

 

 

 

 

 

 

   
 
 
 
    
 

l lndicate the location in Which a
majority of plaintiffs reside:
indicate the location in which a
majority of defendants reside:

lndicate the location in Which a
ma'orit of claims aros

 

 

 

 

 

 

 

C.1. ls either of the following true`.' lf so, check the one that applies: C.2. ls either of the following true? if so, check the one that applies:
l:l 2 or more answers in Column C l:l 2 or more answers in Column D
\:\ only 1 answer in Column C and no answers in Column D m only 1 answer in Column D and no answers in Column C
Your case will initially be assigned to the Your case will initially be assigned to the
SOUTHERN D|VlSlON. EASTERN DlV|SlON.
Enter "Southern" in response to Question D, below, Enter "Eastern" in response to Question D, below.
lf none applies, answer question C2 to the right. _} lf none applies, go to the box below. l

 

 

Your case will initially be assigned to the
WESTERN DlV|SlON.
Enter "Western" in response to Question D below,

 

 

 

 

 

linter the initial division determined by Question A, B, or C above: -»

Western Division

 

 

CV-71 (11/13) ClVlL COVER SHEET Page 2 of 3

Case 2:13-cv-09399-I\/|I\/|I\/|-P.]W Document 1 Filed 12/20/13 Page 15 of 17 Page |D #:30

UN|TED STATES DlSTR|CT COURT, CENTRAL DlSTR|CT OF CAL|FORNIA

 

ClVlL COVER SHEET
lX(a). |DENTlCAL CASES: Has this action been previously H|ed in this court and dismissed, remanded or c|osed? NO l:| YES
if yes, list case number(s):
lX(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? NO |:] YES

|f yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:

(Check an boxes that app|y) l:i A. Arise from the same or closely related transactions, happenings, or events; or

|:] B. Call for determination ofthe same or substantially related or similar questions of law and fact,' or
[::] C. For other reasons would entail substantial duplication of labor if heard by differentjudges; or

[:| D. involve the same patent, trademark or copyrightl and one ofthe factors identified above in a, b or c also is present.

f\

X. S|GNATURE OF ATTORNEY _ % %% 1
(oR SELF_REPRESENTED Ll-HGANT): Jeanne L. Zlmm€i' /;4,( (// / IM/iMM,/j DATE: December 20, 2013

Notice to Counsel/Parties: The CV-71 (15~44) Civil Cover Sheet and the in or%ation containe erein neither replace nor supplement the filing and service of pleadings or

other papers as required by law. This form, approved by the Judicia| Conf re ce ofthe Unite tates in September 1974, is required pursuant to Loca| Rule 3-1 is not H|ed

but is used by the Clerk of the Court for the purpose of statistics, venue an initiating the civil ocket sheet. (For more detailed instructions, see separate instructions sheet).
V

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action
All claims for health insurance benefits (Medicare) under Tit|e 18, Part A, of the Social Security Act, as amended. A|so,
861 H|A include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))
862 BL All claims for "B|ack Lung" benefits under Title 4, Part B, of the Federal Coal Mine Hea|th and Safety Act of 1969. (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits under Title 2 ofthe Social Security Act, as amended; plus

863 D|WC all claims filed for chi|d's insurance benefits based on disability. (42 U.S.C. 405 (g))
863 D!WW All claims filed for widows or widowers insurance benefits based on disability under Tit|e 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))
All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
864 SS!D amended
865 RSl All claims for retirement (o|d age) and survivors benefits under Tit|e 2 of the Social Security Act, as amended

(42 U.S.C. 405 (g))

 

CV~71 (11/13) ClVlL COVER SHEET Page 3 of 3

Case 2:13-cv-09399-I\/|I\/|I\/|-P.]W Document 1 Filed 12/20/13 Page 16 of 17 Page |D #:31

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PROOF OF SERVICE

STATE OF CALIFORNIA
SS

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COUNTY OF LOS ANGELES

I am employed in the County of Los Angeles, State of California.

I am over the age of eighteen years and not a party to the within action. My business
address is 5959 W. Century Blvd., Suite 1214, Los Angeles, California 90045.

On December 20, 2013, 1 served the foregoing document(s) described as: CIVIL
COVER SHEET on all interested parties in this action as follows:

SEE ATTACHED SERVICE LIST

[X] BY MAIL: I sealed such envelope(s) and placed it (thern) for collection and mailing
on this date following the ordinary business practices of Carlson & Messer LLP. 1 am
readily familiar with the business practices of Carlson & Messer LLP for collection and
processing of correspondence for mailing with the United States Postal Service. Such
correspondence would be deposited with the United States Postal Service at Los
Angeles, California this same day in the ordinary course of business with postage
thereon fully prepaid.

[ ] BY ELECTRONIC MAIL: Based on Court order or an agreement of the parties to
accept service by e-mail or electronic transmission, 1 caused the said documents to be
sent to the persons at the electronic mail addresses listed below (see attached service
list). 1 did not receive within a reasonable time after the transmission, any electronic
message or other indication that the transmission was unsuccessful

[ ] BY FACSIMILE ~ 1 transmitted via telecopier machine such document to the
interested parties at the facsimile number(s) listed on the attached service list.

[ ] (STATE): 1 declare under penalty of perjury under the laws ofthe State of California
that the above is true and correct.

[X] (FEDERAL): 1 declare that I am employed in the office of a member ofthe bar of this
court at whose direction the service was made.

Executed this 20th day of December, 2013, at Los Angeles, California

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I>”ZATHRYN A. BROWN

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2:13-cv-09399-I\/|I\/|I\/|-P.]W Document 1 Filed 12/20/13 Page 17 of 17 Page |D #:32

SERVICE LIST
Nazarian, Catherine v. Financial Credit Network, lnc.
File No. 07708.00

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